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                     IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH

  UNITED STATES OF AMERICA,

        Plaintiff,                                    Case No. 1:24-CR-00038

        vs.                                      ORDER REASSIGNING CASE

  KENTRELL DESEAN GAULDEN,                          Judge Howard C. Nielson, Jr.
  (akas “YoungBoy Never Broke Again,”
  “NBA YoungBoy,” and “YB”),

        Defendant.


      Based upon the Stipulated Motion to Reassign Case filed by the United States and

for good cause showing, this Court orders the Clerk’s Office to reassign case number

1:24-CR-00038 to Judge David B. Barlow.

      IT IS SO ORDERED.

      Dated this _____ day of _______________, 2024.



                                               BY THE COURT:



                                               _________________________________
                                               HOWARD C. NIELSON, Jr.
                                               United States District Court Judge




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